Case 24-18716-CMG Doci1 Filed 08/30/24 Entered 09/03/24 10:25:35 Desc

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United States Bankruptcy Court for the:
District of New Jersey [=|

Case number (if known): Chapt In
U4 UY

Cd Check if this is an
amended filing

Official Form 105
Involuntary Petition Against an Individual 12/15

Use this form to begin a bankruptcy case against an individual you allege to be a debtor subject to an involuntary case. If you want to begin a
case against a non-individual, use the Involuntary Petition Against a Non-individual (Official Form 205). Be as complete and accurate as
possible. If more space is needed, attach a separate sheet to this form, On the top of any additional pages, write name and case number (if
known).

Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed

1. Chapter of the Check one:
Bankruptcy Code
Chapter 7 i

Q) Chapter 11

EES eeensy the Debtor

2, Debtor's full name James
First name
Middle name
Smith
Last name

Suffix (Sr., dr. tl, IN)

3. Other names you know
the debtor has used in
the last § years

Include any assumed, i
married, maiden, or trade |
names, or doing business as

names.

4, Only the last 4 digits of () Unknown
debtor’s Social Security
Number or federal
Individual Taxpayer mx ~xx-_6 6 8 9
Identification Number

Identification Numbers 41 Unknown
(EINs) used in the last 8

years mg — ~—_——_———-—-——

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Debtor James Smith

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Case number tirtnown)

6. Debfer’s address

Principal residence Mailing address, [f different from residence.

2108 2nd ave
Number Streat Number Street
*%
Toms river NJ 08755
Ciky State ZIP Code City State ZIP Code
Ocean
County

Principal place of business

7. Type of business

Number Street

City State ZIP Cada
County

i@ Debtor does not operate a business

Check one if the debtor operates a business:

OCOoo

Health Care Business (as defined in 11 U.S.C. § 104(27A)}
Single Asset Real Estate (as defined in 44 U.S.C. § 101(51B))
Stockbroker (as defined in 11 U.S.C. § 101(53A)}

Commodity Broker (as defined in 41 U.S.C. § 104(6)}

None of the above

8. Type of debt

Each petitioner believes:

Q)

Qj

Debts are primarily consumer debts. Consumer debts are definad in 11 U.S.C. § 104(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

Debts are primarily business debts. Business debts are debts thal were incurred to obtain money
for a business or investment or through the operation of the business or investment.

9. Do you know of any
bankruptcy cases
pending by or against
any partner, spouse, or
affiliate of this debtor?

Oe.

No

Yes. Debtor Relationship

District Date filed Case number, if known

MM/OD fY¥YYY

Debtor Relationship

District Date filed Case number, if knewn

MM / DBS Y¥YY

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Debtor James Smith

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Case number of kaown)

i Report About the Case

40, Venue

Reason for filing in this court.

Check one:

Over the last 180 days before the filing of this bankruptcy, the debtor has resided, had the principal place of é
business, or had principal assets in this district longer than in any other district.

() A bankruptcy case concerning debtor's affiliates, general partner, or partnership is pending in this district.

LJ Other reason. Explain. (See 28 U.S.C. § 1408.)

11. Allegations

12, Has there been a
transfer of any claim
against the debtor by or
to any petitioner?

Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
The debtor may be the subject of an involuntary case under 14 U.S.C. § 303(a).

Alt least one box must be checked:

© the debtor is generally not paying such debtor's debts as they become due, unless they are the subject of a
bona fide dispute as to liability or amount.

LJ Within +20 days before the filing of this petition, a custodian, other than a frustee, receiver, or agent appainted or
authorized to take charge of less than substantially all of the property of the debtor for the purpose of enforcing a
lien against such properly, was appointed or took possession.

Wi no

: 13. Each petitioner's claim

( Yes. Attach all documents that evidence the transfer and any statements required under. Bankrupley Rule
4003(a).
. . Amount of the
Name of petitioner Nature of petitioner's claim claim above the
. “ value of any Hen
Jose Rodreigus Loan
* 100,000.00
$
§
Tota | * 400,000.00
lf more than 3 petitioners, attach additional sheets with the statement under penalty i

of perjury, each petitioner's (or representative's) signature under the statement,
along with the signature of the petitioner's attorney, and the information on the
petitioning creditor, the petitioner's claim, the petitioner's representative, and the
attorney following the format on this form.

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Official Farm 705

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Debtor Case nuniber or kaon}
ame
13. Each petitioner's claim Name of petitioner - Nature of petitioner's: ctaim Amount of the stain
, : above the value of
CO  , a. / any lien
. am : ‘
Jee RoDRE} Cut C.0AA » [Yo we
$
§
Total of petitioners’ claims 5 j Yo. ode

if more space is needed to list petitioners, attach additional sheets. Write the alleged debtor’s name and the case number, if known, at
the top of each sheet. Following the format of this form, set out the information required in Parts 3 and 4 of the form for each
additional petitioning creditor, the patitioner’s claim, the petitioner's representative, and the patitioner’s attorney. Include the
statemant under penalty of perjury set out in Part 4 of the farm, followed by each additional petitioner's (or representative's) signature,
along with the signature of the petitioner's attorney.

Request for Relief

WARNING -- Bankruptey fraud is a serious crime, Making a faise statement in connection with a bankruptcy case can result in fines up fo
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C, §§ 152, 1341, 1519, and 3571.

Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this patition. ifa
petitioning creditor is a corporation, attach the corporate ownership statament required by Bankruptey Rule 1010(b). If any petitioner is a
forgign representative appointed in a foreign proceeding, attach a certified copy of the order of the court granting recognition.

Ihave examined the information in this document and have a reasonable belief that the information is true and correct.

Petitioners or Petitioners’ Representative Attorneys
Name and mailing address of petitioner
age _
oO
vals SE. Rob) REL: £ Printed nante

Ylo felted BLIP

Number Street

ELIS TeA NG dro

Fira name, If any

City State ~ ZIP Code | Number  Sfreet
i i Stat PG
Name and mailing address of petitioner's representative, if any Gly ° aiP Code
Contact phone Email
Name
8 Bar number
Number Street . |
&
State _
Clty State 2iP Code

| declare under penalty of perjury that the foregoing is true and correct
Executed ag 4} 20/24 “x

o ‘ Signature of attorney i

Signature of petitioner or represéhiatlve, including representative's title 4 Bate signed

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Debtor Case number {fanny

Name and mailing address of petitioner

Name Printed name
Finn name, if any
Number Street
City State ZF Code Number Street j
age ne City State ZIP Code
Name and mailing address of petitioner's representative, if any
Contact phone Ermail
Name |
Bar number i
Number  Streat
State

City State ZIP Gade

| declare under panalty of perjury that the foregoing is true and correct

Signature of attorney

Date signed
Signature of petitioner or representative, induding representative's title MM TBD OIYYYY

Name and niailing address of petitioner

Name Piinted name

Firm name, if any
Number  Streat

Chy ‘State ZIP Coda Number Strest i
ZIP Cod
Name and mailing address of patitioner’s representative, if any Clty State P Code
Contact phone Email ;
Name. :
Bar number
Number Street
State

City State ZIP Gade

E declare under penalty of perjury that the foregoing is true and correct *'

Executed on
MM / DD PYYYY

Signature of attorney

x

Signature of petitioner or representative, Including representative's title

Datesigned
MM SDD FYYYY

Tne AAAS

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